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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
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                                                                                        NORFOI K VA
RODERICK EVERETT,JR,

                      Petitioner,
V.                                                          CRIMINAL NO,4:16cr35


UNITED STATES OF AMERICA,

                      Respondent.


                          MEMORANDUM OPINION AND ORDER


       Before the Court is Petitioner Roderick Everett, Jr.'s ("Petitioner") Motion for

Compassionate Release. ECF Nos. 34 and 38. For the reasons stated below, Petitioner's Motion is

DENIED.


                       I. FACTUAL AND PROCEDURAL HISTORY


       On November 3,2015, Petitioner facilitated the sale of marijuana to an unnamed individual

in Hampton, Virginia. ECF No. 26. During that meeting. Petitioner shot and wounded the

individual. Id. Petitioner was later named in a 3-count indictment for Distribution of Marijuana in

violation of 21 U.S.C. § 841, Discharge of a Firearm in Furtherance of Drug Trafficking in

violation of 18 U.S.C. § 924(c), and Felon in Possession of a Firearm and Ammunition,in violation

of 18U.S.C. § 922(g)(1). Id. Defendant pled guilty on August 8,2016 to Count 2 ofthe superseding

indictment for Discharge of a Firearm in Furtherance of Drug Trafficking in violation of 18 U.S.C.

§ 924(c). ECF No. 20. Petitioner was later sentenced to 120 months imprisonment and 5 years

supervised release on December 7, 2016. ECF No. 30.

       On June 23, 2020, Petitioner filed a request for compassionate release with the Federal

Bureau of Prisons ("BOP"). ECF No. 34. Petitioner then filed a pro se letter motion for



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compassionate release on July 22, 2020. Id. That same day, the Court directed the Federal Public

Defender to represent Petitioner and ordered the appropriate responses. EOF Nos. 35. Petitioner,

through counsel,supplemented his pro se filing on August 20,2020. EOF No. 38. The Government

responded in opposition on September 4,2020. ECF No.41. Petitioner replied to the Government's

response on September 14, 2020. ECF No. 42. Accordingly, this matter is ripe for disposition.

                                    II. LEGAL STANDARD


A. The Exhaustion Requirement

       A district court may modify a petitioner's sentence "after the defendant has fully exhausted

all administrative rights to appeal a failure of the BOP to bring a motion on the defendant's behalf

or the lapse of30 days from the receipt ofsuch a request by the warden ofthe defendant's facility,

whichever is earlier." 18 U.S.C. § 3582(c)(1)(A). Accordingly, a petitioner seeking compassionate

release is generally required to exhaust his or her administrative remedies prior to bringing a

motion before the district court. Id. Courts may; however, waive the exhaustion requirement under

exigent circumstances. Coleman v. United States, 2020 WL 3039123, at *3-*4(E.D. Va. June 4,

2020)(discussing the reasons "judicial waiver ofthe exhaustion requirement is permissible in light

of the extraordinary threat certain inmates face from COVID-19").

B. The Compassionate Release Standard

       As amended by the FIRST STEP Act, a court may modify a term of imprisonment on the

motion of the petitioner after considering the factors set forth in 18 U.S.C. § 3553(a) if

"extraordinary and compelling reasons warrant such a reduction." 18 U.S.C. § 3582(c)(l)(A)(i).

"Extraordinary and compelling reasons" was previously defined by the United States Sentencing

Commission ("Sentencing Commission") in U.S.S.G. §IB 1.13, Application Note 1. Before the

passage of the FIRST STEP Act, the Sentencing Commission provided that a sentence may be
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iriodified due to the petitioner's medical condition, age, or family circumstances and further

defined the limits under which a sentence reduction may be given under those justifications.

U.S.S.G. §lB1.13,n. 1 (A)-(C).The Sentencing Commission also provided a "catch-all provision"

that allowed for a sentence modification upon a showing of"extraordinary and compelling reason

other than, or in combination with, the reasons described in subdivisions(A)through (C)." Id. at

n. 1 (D). Use of the "catch-all provision" prior to the FIRST STEP Act was severely restricted

because it required approval from the Bureau of Prisons before an individual could petition the

district court for relief. Id.


        However, U.S.S.G. §IB 1.13 is now outdated following the passage of the FIRST STEP

Act, which allows individuals to petition the district court directly without clearance from the

Bureau of Prisons. As such, U.S.S.G. §IBI.13 is merely advisory and does not bind the Court's

application of § 3582(c)(1)(A). McCoy v. United States, 2020 WL 2738225, at *4(E.D. Va. May

26,2020);       also United States v. Lisi, 2020 WL 881994, at *3(S.D.N.Y. Feb. 24,2020)("[T]he

Court may independently evaluate whether [petitioner] has raised an extraordinary and compelling

reason for compassionate release ... [but § lB1.13's policy statement] remain[s] as helpful

guidance to courts...."); United States v. Fox, 2019 WL 3046086, at *3 (D. Me. July 11, 2019)

("[T]he Commission's existing policy statement provides helpful guidance on the factors that

support compassionate release, although it is not ultimately conclusive").

        Additionally, and importantly, a petitioner's rehabilitation standing alone does not provide

sufficient grounds to warrant a sentence modification. 28 U.S.C. § 994(t). Instead, the Court may

consider a combination of factors, including — but not limited to — those listed in U.S.S.G.

§IB 1.13, in evaluating a petitioner's request for a sentence modification under 18 U.S.C. §

3582(c)(l)(A)(i).
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                                       III. DISCUSSION


A. The Exhaustion Issue


       Petitioner submitted a request for compassionate release to the BOP on June 23,2020. ECF

No. 34. Petitioner then waited 29 days to file the present motion,just one day shy of the 30-day

requirement. At this juncture, however, over 30-days have lapsed and neither party has produced

any evidence to determine whether the BOP has reviewed, denied, or granted Petitioner's request

for compassionate release. At any rate, this Court has previously held that the exhaustion

requirement within § 3582(c)(1)(A) may be waived in the midst of the COVID-19 pandemic. See

supra Part II.A; Coleman v. United States, 2020 WL 3039123, at *3-*4(E.D. Va. June 4, 2020).

Accordingly, the Court will waive the exhaustion requirement due to the ongoing threats COVID-

19 imposes.

B. Resolution of the Defendant's Request for Compassionate Release

       1. Consideration ofthe Factors Listed in 18 U.S.C. § 3553(a)

       In its consideration of the factors listed in 18 U.S.C. § 3553(a), the Court notes that

Petitioner's offense conduct is much more serious than the title of his offense of conviction.

Although Petitioner was only convicted ofdischarging a firearm in furtherance of drug trafficking.

Petitioner critically wounded an individual during the underlying drug trafficking offense. ECF

No. 36 ("The defendant admitted that he shot the individual."). The facts of Petitioner's case

clearly indicate that his offense conduct could have included charges for Malicious Wounding or

even Attempted Murder. Furthermore, Petitioner has a Criminal History Category of V and

Petitioner's mandatory guidelines range was 5 years to life at the time of sentencing. Based on the

foregoing. Petitioner's offense conduct strongly implicates the need for a sentence "to reflect the
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seriousness of the offense...and to provide just punishment" as well as to deter participation in

criminal conduct that may culminate in crimes of violence. 18 U.S.C. § 3553(a)(2)(A)-(B).

       In furtherance of its evaluation of the § 3553(a) factors, the Court also considers that

Petitioner has served over 50 months of his sentence and maintains no disciplinary record. ECF

No 38. He has also participated in rehabilitative programming including several business-related

classes and drug-related programming. Id. However, after full consideration of the § 3553(a)

factors, the Court concludes that the purposes of Petitioner's sentence remain unfulfilled.

       2. Evaluation of"Extraordinary and Compelling Reason"

       In evaluating whether an "extraordinary and compelling reason" for a sentence reduction

has been established, the Court considers the severity of the ongoing COVID-19 outbreak in

federal prisons. See e.g. Wilson v. Williams,2020 WL 2542131, at *1-2(N.D. Ohio May 19,2020)

(documenting the BOP's ineffective efforts to curtail the spread of the virus within FCI Elkton).

Specific to each petitioner, the Court examines the Centers for Disease Control's list ofrisk factors

for severe COVID-19 complications when assessing compassionate release motions during the

pandemic. United States v. Lewellen, 2020 WL 2615762, at *4(N.D. 111. May 22, 2020).

       Here, Petitioner offers his asthma, difficulty breathing, and sickle cell trait as underlying

conditions that may exacerbate a potential COVID-19 infection. ECF No. 38 at 3. The Court notes

that the CDC lists asthma as a medical condition that may cause an "increased risk ofsevere illness

from COVID-19."' The Court, however, is unable to conclude that Petitioner is particularly

vulnerable to COVID-19 based upon Petitioner's failure to produce any medical records to support

his claims. Petitioner's only evidence in support of his alleged medical conditions is limited to the



       'People with Certain Medical Conditions, CENTERS FOR DISEASE CONTROL AND PREVENTION (Sept. 11,
       2020), https://www.cdc.gOv/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
       conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
       ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html.
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        following one sentence statement: "Mr. Everett is prescribed an Albuterol inhaler. PSR at ^ 58,

        Everett Medical Records 081718-081719 at PDF pp 1,3,11; Everett Medical Records 081719-081720

        at PDF p.14." Id. While Petitioner cites to medical records, Petitioner has not supplied these records to

        the Court. Furthermore, even though Petitioner does cite to paragraph 58 of Petitioner's Presentence

        Investigation Report as evidence of Petitioner's asthma, that paragraph summarily indicates that

        Petitioner uses an inhaler, but has not suffered an asthma attack since 2007. ECF No. 36. Based upon

        the evidence before the court, the length of time since Petitioner's last asthma attack suggests that

        Petitioner's asthma is well-maintained. Accordingly, Petitioner has failed to produce enough

        information about his medical issues to show a heightened risk of severe illness or death. See

        United States v. Dickson,2020 WL 1904058, at *3(N.D. Ohio Apr. 17,2020)("[petitioner] offers

        no proof, such as medical records that would substantiate [underlying health issues]"); United

        States V. Clark, 2019 WL 1052020, at *3 (W.D.N.C. Mar. 5, 2019) (denying motion for

        compassionate release because the petitioner failed to supply medical records to substantiate

        medical claims).

                Based upon the foregoing reasoning, the Court is unable to find an extraordinary and

        compelling reason for relief after considering the unfulfilled purposes of Petitioner's original

        sentence.


                                                 IV. CONCLUSION


                For the foregoing reasons, Petitioner's Motion is DENIED. The Clerk is DIRECTED to

        send a copy ofthis Order to the Petitioner, the United States Attorney, the United States Probation

        Office, the Federal Bureau of Prisons, and the United States Marshals Service.

        IT IS SO ORDERED.


        Newport New^ Virginia                                             Raymond A.Jackson
        September ^,2020                                                  United States District Judge
